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                      IN THE UNITED STATES DISTRICT COURT FOR THE

                                DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              )
                                                      )
                 v.                                   )       Case No.: 21-mj-492
                                                      )
BOBBYE TOLLIVER,                                      )
                                                      )
                                                      )
                  Defendant.                          )



 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

          I, Joshua Rothman, a Special Agent with the Federal Bureau of Investigation being duly

sworn, depose and state as follows:

          1.     I have been a Special Agent with the FBI for the past thirteen years, and have been

stationed at the Washington, D.C. field office that entire time. I am currently assigned to the FBI

Safe Streets Task Force. In that role, I am principally involved in narcotics and narcotics-related

investigations, including violent offenses related to narcotics investigations. Since 2008, I have

received training and experience in interviewing and interrogation techniques, arrest procedures,

search and seizure, narcotics, white-collar crimes, search warrant applications, and various other

crimes.

          2.     Since January 2015, I have been assigned to investigate federal narcotics crimes on

the FBI Washington, D.C. Safe Streets Task Force, a violent crime and gang task force. In the

course of my training and experience, I have become familiar with the methods and techniques

associated with the distribution of narcotics, the laundering of drug proceeds, and the organization

of drug conspiracies. In the course of conducting these investigations, I have been involved in the



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use of the following investigative techniques: interviewing informants and cooperating witnesses;

conducting physical surveillance; conducting short-term and long-term narcotics and homicide

investigations; consensual monitoring and recording of both telephonic and non-telephonic

communications; analyzing telephone pen register and caller identification system data;

conducting court-authorized electronic surveillance; conducting court-authorized Title III wiretap

investigations; and preparing and executing search warrants that have led to substantial seizures

of narcotics, firearms, and other contraband.

       3.      Through my training and experience, as described above, I have become familiar

with the provisions of the federal firearms laws administered under Title 18 and Title 26 of the

United States Code, as well as controlled substance laws administered under Title 21 of the United

States Code. I have personally conducted and participated in investigations that have resulted in

the arrest and conviction of numerous individuals responsible for violations of the District of

Columbia Code and United States Code including, but not limited to, narcotics and firearms

offenses.

       4.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit is

intended to show merely that there is sufficient probable cause for the requested warrant. It does

not set forth all my knowledge, or the knowledge of others, about this matter.

       5.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of Title 21 U.S.C. §

841(a), 18 U.S.C. § 922(a)(4), 18 U.S.C. § 922(o), and 18 U.S.C. § 924(c)(1)(B)(ii) have been

committed by BOBBYE TOLLIVER (“TOLLIVER”).




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                                       PROBABLE CAUSE

       6.       On April 17, 2019, at approximately 2:03 a.m., Officers with the Metropolitan

Police Department (“MPD”) conducted a traffic stop on a Hyundai vehicle bearing D.C.

registration NAT1632 in the 4000 block of 9th Street, Southeast (“SE”) because its headlights

were not activated. Inside of the vehicle was the driver, T.S., and Diante Arik Wiley (“Wiley”). A

WALES/NCIC search of the D.C. license plate revealed that T.S. was the registered owner of the

vehicle.

       7.       Officers obtained T.S.’ permission to search her vehicle. During the vehicle search,

law    enforcement      located    a    cardboard     box     in   the    trunk     stamped     with

“OUTDOORSPORTSUSA.COM.” Affixed to the box was a UPS 2nd Day Air shipping label

addressed to Wiley. The following items were located inside the cardboard box: 1 round of .223

ammunition, 1 AR15 platform lower parts kit, 1 9mm magazine, 1 rifle stock, 1 pistol grip, as well

as additional miscellaneous firearm building parts.

       8.       Once the above-mentioned items were recovered, Wiley spontaneously claimed

ownership of the box and ammunition, and stated that he was building a rifle in Maryland. A

WALES/NCIC search of Wiley resulted in negative results for any registration of ammunition,

firearms, rifles, or the license to carry such items. Wiley was placed under arrest for possession of

unregistered ammunition. Officers confirmed through MPD databases that Wiley did not have any

type of registration or license for firearms or ammunition in the District of Columbia.

       9.       Since then, law enforcement, including your affiant, has continued to investigate

Wiley regarding his involvement with firearms manufacturing, possession, and trafficking in the

District of Columbia. Law enforcement has executed several subpoenas and search warrants for




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Wiley’s social media accounts, email accounts, financial records, and purchase history from

firearms parts distributors.

         10.    On April 9, 2021, law enforcement set up a controlled purchase from Wiley for

narcotics and a fully automatic machinegun, where a source would purchase the narcotics and

firearm and would be observed by law enforcement.

         11.    Immediately prior to the controlled purchase on April 9, 2021, law enforcement

members observed TOLLIVER get into the front passenger seat of Wiley’s vehicle, a silver

Infiniti M45 bearing Maryland registration 8BV5906, near 24 Staton Drive, Upper Marlboro,

Maryland. They further observed as Wiley drove himself and TOLLIVER from that location to

the parking lot of 1523 Alabama Avenue Southeast, Washington, D.C., where the controlled

purchase took place. During the controlled purchase, TOLLIVER acted as a go-between,

transporting the machinegun and marijuana from Wiley to the Source, and transporting United

States currency from the Source to Wiley.

         12.    Following the controlled purchase, at approximately 8:18 p.m., officers stopped and

arrested Diante Wiley based on the sales of the firearms and drugs. Wiley was subsequently

charged in a criminal complaint with unlawful possession and transfer of a machinegun, in

violation of 18 U.S.C. § 922(o), and using/carrying/possessing a firearm in furtherance of a drug

trafficking offense, in violation of 18 U.S.C. § 924(c)(1)(B)(ii). 1 At the time of the stop,

TOLLIVER was in the passenger seat of Wiley’s car, consistent with observations during the

controlled purchase.

         13.    A stop of the source’s vehicle resulted in the recovery of marijuana and a firearm.

The marijuana was in a sealed, commercial package from Proper Dispensary in Los Angeles,



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California. Specifically, the package was labeled “Jungle Boys Kush Mints” and noted that it

contained 3.5 grams of marijuana containing 33.40% Tetrahydrocannabinol (THC), the active

ingredient in marijuana.

       14.     The firearm purchased during the controlled purchase was determined to be a black

in color .223 caliber M-16 type Privately Manufactured Firearm (PMF) with no serial number. The

firearm was a visual match for firearms posted for sale on Wiley’s Instagram account. Upon initial

inspection of the firearm, there was a visible automatic sear pin hole located above the selector

switch. Agents conducted a field test for fully automatic capability on scene which yielded positive

results. 2 The firearm was later examined by the ATF laboratory, and determined to be a

machinegun regulated under Title 26 U.S.C. § 5845 the National Firearms Act (NFA).

       15.     TOLLIVER was transported to the FBI Washington, D.C. Field Office where he

was advised of his Miranda rights. TOLLIVER stated that he understood his Miranda rights, and

agreed to speak with special agents. TOLLIVER explained that Wiley was his neighbor in that

Wiley stated with his grandmother, who lived next door to TOLLIVER’s mother. TOLLIVER

stated that he was merely getting a ride with Wiley from Upper Marlboro, Maryland, to

Washington, D.C., and that he did not know anything about any transaction involving marijuana

or firearms. TOLLIVER explained that he was simply in the wrong place at the wrong time.

       16.     Wiley was also interviewed after his arrest. Among other things, Wiley admitted

purchasing a Glock 17 with a “switch” from TOLLIVER. Based on my training and experience,



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  A field test for fully automatic capability involves the following: with the magazine and all
ammunition removed from the firearm, the bolt or slide is pulled to the rear to release. The tester
will then pull the trigger and keep it depressed then pull the bolt or slide to the rear again. The
trigger is then released and pulled again. If the firing mechanism (hammer) does not fall when the
trigger is pulled for the second time, this is consistent with the firearm operating in the fully
automatic mode.


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I know that “switch” is a common slang term for an illegal device that enables a conventional,

semi-automatic pistol to function as a fully automatic firearm. A “switch” also meets the definition

of “machinegun” under federal law. Given the differences between Wiley’s statements and

TOLLIVER’s statements, specifically Wiley’s statement that he and TOLLIVER had engaged

in illegal machine gun transfers prior to the controlled purchase on April 9, 2021, special agents

began investigating a possible link between TOLLIVER and Wiley for the manufacture and sale

of fully automatic firearms.

                                  Search of Wiley’s Cellphone

       17.     During his post-arrest interview, Wiley provided written consent for special agents

to search the contents of the cell phone seized from him incident to his arrest. At the time that

Wiley provided written consent, law enforcement had already obtained a federal search warrant

(21-SW-107), which also authorized the search of the cell phone. While reviewing the contents of

the phone, law enforcement observed a conversation between Wiley and an individual identified

in Wiley’s phone as “Tay,” during which Wiley referenced TOLLIVER and firearms. These

messages appear to corroborate Wiley’s statement during his post arrest interview that he had

purchased from TOLLIVER a Glock 17 with a “switch.” Specifically, on or about December 21,

2020, at approximately 2:37 a.m. (UTC), Wiley was communicating with “Tay” in order to broker

a sale of three “switches” that were being sold by TOLLIVER — including a Glock 17 with a

“switch,” as admitted by Wiley in his post-arrest interview. Wiley asked, “3 switches tho 1500”;

“Lol I’m cool tho u my man so Iont care we both eat.” Tay answered, “Lls look at you and Ite bet

we just wait omg on your man.” Wiley responded, “Just waiting on call from bruh lemme know

he leaving stu so we can weed him” and “Meet.”




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       18.     Wiley later sent “Tay” the below screen shot of a private Instagram message

between Wiley and TOLLIVER via TOLLIVER’s Instagram account, “1realmoneyroute.”




       19.     In this screen shot, as displayed above, TOLLIVER messaged Wiley, “I thought u

was saying 2 & my 17, that’s basically 3 & my 17.” After sending this screenshot, Wiley messaged

“Tay” to more clearly explain the conversation with TOLLIVER, stating: “He [TOLLIVER]

saying give him 200 on top for a extra one.” “Tay” replied, “I got 125,” to which Wiley responded,

“I’ll put the rest to it.” Approximately 30 minutes later, “Tay” messaged Wiley, “Bout to pull up.”

Shortly thereafter, Wiley messaged “Tay” the following, “$PDSBINO100.”


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between Wiley and the user of 202-                    (i.e TOLLIVER) about the purchase of

Promethazine, a Schedule V controlled substance. During the conversation, Wiley informed

TOLLIVER that the Promethazine was obtained from a female who had a prescription stating,

“str8 out pharm.” Later in the conversation, TOLLIVER asked how much Wiley would charge

him for some of the Promethazine, “Wat you gon tax me for a 4 , fwm bra this shit for all week

lmao.” Wiley responded, “I gotta do 7 bro I paid 150 atwu.” After further talking price,

TOLLIVER offered to buy two bottles for 300, “Give me 2 for 300 brah” to which Wiley replied,

“325 bro I gotta make sumn I wouldn’t even have grabbed foreal.” The two continued to negotiate

possible pricing, but the conversation ended prior to any agreement because Wiley arrived in

person to pick up TOLLIVER stating, “Brickyard station dr u gon see me.”

       23.     On or about April 4, 2021, at approximately 7:05 p.m. (UTC) TOLLIVER

messaged Wiley,” I got za 60.” In response, Wiley stated, “Loaded rn.” I believe based on my

investigation of narcotics cases, and the evidence obtained in this particular investigation to date,

that in this conversation TOLLIVER was informing Wiley that he had marijuana (“za” is a

common slang term for marijuana) for sale for $60. However, Wiley did not need any because he

already had some (“Loaded rn [right now]”). Two days later, on or about April 6, 2021, at

approximately 10:29 p.m. (UTC) TOLLIVER messaged Wiley, “Find some OG.” Wiley

responded, “Lil bro broke mic” and sent a photograph of what appeared to be marijuana based on

my training an experience, followed by, “Looks good I ain’t smoked it tho.” TOLLIVER then

replied, “Na don’t look like g tho smh.”

       24.     Based on all the above, it is my understanding that TOLLIVER was not only

buying firearms from Wiley, but also engaged in the sale of narcotics and firearms to include fully

automatic firearms which are regulated under the National Firearms Act.



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       25.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, BOBBYE TOLLIVER violated 18

U.S.C. §§ 922(a)(4), and 2, which makes it a crime to transport a machinegun in interstate

commerce without a license.

       26.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, BOBBYE TOLLIVER violated 18

U.S.C. §§ 922(o), and 2, which makes it a crime to transfer or possess a machinegun.

       27.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, BOBBYE TOLLIVER violated 21

U.S.C. § 841(a)(1) and 18 U.S.C. § 2, which makes it a crime to distribute, or possess with the

intent to distribute, a mixture and substance containing a detectable amount of marijuana.

       28.     Based on the foregoing, your affiant asserts that there is probable cause to conclude

that, on or about April 9, 2021, in the District of Columbia, BOBBYE TOLLIVER violated 18

U.S.C. §§ 924(c)(1)(B)(ii), and 2, which makes it a crime to uses or carries a machinegun during

and in relation to, or possesses a machinegun in furtherance of, a drug trafficking crime for which

the person can be prosecuted in federal court, to wit: distribution, or possession with the intent to

distribute, a mixture and substance containing a detectable amount of marijuana.

                                      _____________________________________
                                      Special Agent Joshua Rothman
                                      Federal Bureau of Investigation
Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on June 23, 2021.


_________________________________________
HON. ROBIN M. MERIWEATHER
UNITED STATES MAGISTRATE JUDGE




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